Case 2:03-CV-02622-SHI\/|-tmp Document 21 Filed 08/19/05 Page 1 of 2 Page|D 44

 

UNITED sTATEs DISTRICT coURT -FILED B"r' .__,_
wESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 95 AUG l9 AH 51 52
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JINMY cLEmaER, W/D C? :T"-.?. F'-AE%»AP§~BS
Plaintiff,
v. Cv. No. 03-2622-Ma

ZAH.RA UMLANI, BENCHMARK REALTORS,
LLC., and FICTITIOUSLY N.AMED
DEFENDANTS,

Defendants.

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed With

prejudice, in accordance with the Order of Dismissal, docketed
August 9, 2005.

APPROVE& a 5 _ 5

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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case 2:03-CV-02622 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

